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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        *
                                                *
              v.                                *             Criminal No. 1:17-cr-10243-IT
                                                *
CHRISTOPHER N. CONDRON,                         *
                                                *
       Defendant.                               *

                                  MEMORANDUM & ORDER

                                         October 16, 2020

TALWANI, D.J.

       Before the court is Defendant Christopher Condron’s renewed Motion to Continue [#252]

his trial to February 2021 in light of the heightened risk posed by COVID-19 to individuals like

himself with diabetes and autoimmune conditions. The court denied a similar Motion to

Continue [#212] in July 2020; however, for the following reasons, the renewed motion is

ALLOWED.

       First, Defendant has provided additional information supporting his request. He asserts

that since he last petitioned the court, new research indicates that individuals with diabetes are

much more likely to suffer severe outcomes, including death, if they contract COVID-19, Mot. to

Continue 2-3 [#252], and he has submitted several publications supporting this assertion. Id.,

Exh. D-I. Defendant has also outlined the considerable precautions he has taken since March

2020 to minimize his risk of transmission. Defendant Affidavit [#263-1]. In addition, responding

to the court’s concern that there is no guarantee that COVID-19 will not pose the same risk in

February 2021, Defendant notes that several leading infectious disease specialists predict that

safe and effective vaccines will be available for those most at risk of contracting COVID-19

within the next few months. Supplemental Memorandum 1-2 [#263].
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       Second, Defendant lives in Barnstable and does not have a driver’s license, such that he

would have to take public transportation to Boston, thereby increasing his risk of contracting

COVID-19. The court has attempted to obtain housing for Defendant, which would have allowed

him to remain in Boston and avoid a daily commute for the duration of the trial. However, the

court and the Probation Office do not currently have resources they may use to provide for such

housing.

       Finally, although the District Court has taken significant steps to reduce the possibility of

transmission of COVID-19, jury trials have just recently resumed. Additional experience in

conducting such trials safely is warranted before starting one where the defendant is not currently

in custody awaiting trial; the defendant has a heightened risk of severe illness if he contracts

COVID-19; the trial may involve out-of-state witnesses; and the trial is anticipated to take

several weeks.

       However, this case is one of the oldest criminal cases on the court’s docket, and it cannot

be continued indefinitely, even during a pandemic. As more jury trials take place over the next

few months, the court will gain experience and will expect to conduct trials of defendants with

underlying medical conditions. The clerk shall set a status conference in December 2020, and

counsel are therefore directed to confer and be ready to discuss dates for a trial in early 2021 at

the December status conference.

       IT IS SO ORDERED.

       October 16, 2020                                               /s/ Indira Talwani
                                                                      United States District Judge




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